









Dismissed and Opinion filed February 13, 2003









Dismissed and Opinion filed February 13, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-01214-CV

____________

&nbsp;

CYTREX,
INC. d/b/a COMMUNICATION CONSULTANTS, INC., TY TAYLOR, and TOM
SILVA, Appellants

&nbsp;

V.

&nbsp;

TERRA.COM,
INC., Appellee

&nbsp;



&nbsp;

On
Appeal from the 334th District Court

Harris
County, Texas

Trial
Court Cause No. 00-36835

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed October 24,
2002.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On January 10, 2003, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed February 13, 2003.

Panel consists of Justices
Anderson, Seymore, and Guzman.

&nbsp;





